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 6                                        DISTRICT COURT OF GUAM
 7                                          TERRITORY OF GUAM
 8
 9    UNITED STATES OF AMERICA,                             MAGISTRATE CASE NO. 20-00092

10                           Plaintiff,

11           vs.
                                                                 APPOINTMENT ORDER
12    RICKY JAMES JR. SALAS SANTOS,

13                           Defendant.

14
15          IT IS HEREBY ORDERED THAT the FEDERAL PUBLIC DEFENDER is appointed to

16   represent the Defendant, subject to the submission of a financial affidavit.

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                                                                        /s/ Michael J. Bordallo
19                                                                          U.S. Magistrate Judge
                                                                        Dated: Aug 27, 2020
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